                   Case 1:18-cv-00842-RHH Document 17 Filed 10/05/18 Page 1 of 4
...


                       Wniteb $,!ates (!Court of jfeberal (!Claims
                                                 No. 18-842 C
                                            Filed: October 5, 2018


           JAMES K. ARINGTON,

                        Plaintiff,

           v.

           UNITED STATES OF AMERICA,

                        Defendant.


                                         OPINION AND ORDER
           Hodges, Senior Judge.

                  Mr. Arington filed this complaint prose, asserting that three judges on the United
           States Court of Appeals for the Seventh Circuit have violated plaintiffs Constitutional
           and civil rights. He has filed a number of motions related to this case, all of which are
           pending currently. These include plaintiffs motion for leave to proceed in forma
           pauperis; plaintiffs motion to invoke federal jurisdiction for urgent medical needs;
           plaintiffs motion for judicial notice; plaintiffs motion for extension of time to file
           response; plaintiffs motion for leave to file amended complaint; plaintiffs motion for
           leave to file corrected exhibits; plaintiff's motion to present additional due process
           violations in the workers compensation board hearing; and plaintiffs motion for relief in
           the form of medical treatment. Defendant filed a motion to dismiss for lack of subject
           matter jurisdiction prior to plaintiffs motion for leave to file an amended complaint.

                   We grant the following: plaintiffs motions for leave to proceed in forma pauperis;
           plaintiffs motion for extension of time to file a response; and plaintiffs motion for leave
           to file an amended complaint. The amended complaint is deemed filed as of the date of
           this Opinion. The amended complaint in this case was filed also filed in Arington v.
           United States, 18-842. As a result, we dismiss defendant's motion to dismiss as moot, and
           we dismiss the remainder of plaintiffs miscellaneous motions. We dismiss the amended
           complaint sua sponte for lack of subject matter jurisdiction pursuant to RCFC 12(h)(3).




      7017 2620 ODDO 7637 4464
        Case 1:18-cv-00842-RHH Document 17 Filed 10/05/18 Page 2 of 4




                                     BACKGROUND

       Plaintiffs complaint and amended complaint allege multiple violations of his
Constitutional and civil rights based on denial of and "unlicensed" medical treatment
stemming from a workers compensation claim. He originally filed a claim in the United
States District Court for the Northern District of Indiana alleging bad faith, fraudulent,
and criminal activity by state and government officials. Arington v. Workers Comp. Bd.
of Ind., No. 16-315, slip op. at 3-5 (N.D. Ind. June 1, 2017). That complaint was
dismissed for failure to state a claim upon which relief can be granted. Id.

       Plaintiff filed three additional complaints in this court, two of which have been
dismissed. See Arington v. United States, No. 17-902; Arington v. United States, No. 18-
713; Arington v. United States, No. 18-875. This case differs slightly from the other
three, but shares many allegations.

       The complaint and amended complaint allege that the United States Department of
Justice and a certain Government official violated his First, Fifth, Eighth, Ninth and
Fourteenth amendment rights causing him injury. He characterizes the claim as a Bivens
action. See Bivens v. Six Unkown Named Agents of Fed. Bureau of Narcotics , 403 U.S.
388 (1971).

        Plaintiff asserts that the Federal Government has knowledge of violations of his
civil and Constitutional rights by state and federal officials. The alleged violations of his
rights was the denial of certain medical treatment related to a workers compensation
claim. He also alleges that the District Court has committed felonies and thus lost
jurisdiction over this claim. He seeks monetary, declaratory, equitable, and injunctive
relief.

                               STANDARD OF REVIEW

       The court must dismiss any action "if [it] determines at any time that it lacks
subject-matter jurisdiction." RCFC 12(h)(3). Jurisdiction is conferred upon this court by
Congress through the Tucker Act, which establishes the court's power "to render any
judgment upon any claim against the United States founded either upon the Constitution,
or any Act of Congress or any regulation of an executive department, or upon any express
or implied contract with the United States .. . in cases not sounding in tort." 28 U.S.C. §
 149l(a)(l) (2012).

       Pleadings for pro se plaintiffs are held to less stringent standards than those
drafted by counsel. Hughes v. Rowe, 449 U.S. 5, 9 (1980). Such leniency does not,
however, relieve plaintiff the burden of meeting the jurisdictional requirements of the
court.

                                                                                    RECE!VED ·· !JSCFC
                                              2
                                                                                       OCT -5 2018
! ,/'
        • r
                       Case 1:18-cv-00842-RHH Document 17 Filed 10/05/18 Page 3 of 4




                     Plaintiff filed an application to proceed in forma pauperis pursuant to Title 28
              U.S .C. § 1915(a), which provides that a court may permit the filing of a civil action
              without prepayment of fees if the plaintiff submits an affidavit demonstrating that
              plaintiff "is unable to pay the costs of said proceedings or to give security thereof."

                                                    DISCUSSION

                     "Jurisdiction is power to declare the law, and when it ceases to exist, the only
              function remaining to the court is that of announcing the fact and dismissing the case." Ex
              Parte McCardle, 74 U.S. 506, 514 (1868). Plaintiffs complaint appears to include
              primarily allegations of tortious acts, such as violations of civil rights and certain
              Constitutional rights, and felonious actions by an Indiana district court and the
              Department of Justice. The Tucker Act does not grant to this court jurisdiction over
              criminal acts, and with limited exceptions, we do not hear cases alleging torts.

                       This court hears cases involving Constitutional claims that provide money
              damages, such as the Fifth Amendment provision that prohibits the Government from
              taking private property without just compensation. The amendments cited by plaintiff do
              not fall within this category. The Court of Federal Claims does not have jurisdiction over
              claims brought under the Civil Rights Act. 42 U.S.C. §§ 1981-88; Flowers v. United
              States , 321 F. App ' x 928. 934 (Fed. Cir. 2008).

                     Plaintiffs sworn application states that he is unemployed, and his list of debts and
              assets establish a reasonable basis for granting his application according to the rules and
              practice of this court. Therefore, we grant plaintiffs motion for leave to proceed in forma
              pauperis.

                                                    CONCLUSION

                     Plaintiffs motion for leave to proceed in forma pauperis, motion for extension of
              time to file a response and motion for leave to file an amended complaint are
              GRANTED. Plaintiffs motions to invoke federal jurisdiction for urgent medical needs;
              for judicial notice; to file corrected exhibits; to present additional due process violations,
              and for relief in the form of medical treatment are DENIED.

                     Neither plaintiffs original complaint nor his amended complaint allege claims
              over which this court has jurisdiction. Defendant's motion to dismiss plaintiffs
              complaint for lack of subject matter jurisdiction is DENIED as moot due to the filing of
              the amended complaint. However, we DISMISS plaintiffs complaint sua sponte
              pursuant to RCFC 12(h)(3) for a lack of subject matter jurisdiction. The Clerk is ordered
              to enter judgment accordingly.



                                                            3
 Case 1:18-cv-00842-RHH Document 17 Filed 10/05/18 Page 4 of 4




IT IS SO ORDERED.




                             RobertH. odg
                             Senior Judge




                                4
